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 3
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 4   Telephone: (916) 422-4022
     Attorneys for Matthew Gillum
 5
 6
                         IN THE UNITED STATES DISTRICT COURT
 7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                  )   Case No. 2:13-cr-00393-MCE
10                                              )
                  Plaintiff,                    )
11                                              )   STIPULATION AND ORDER FOR
           vs.                                  )   CONTINUANCE OF JUDGMENT AND
12                                              )   SENTENCING
     MATTHEW GILLUM,                            )
13                                              )
                  Defendant                     )
14                                              )
15
16         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Judgment and Sentencing scheduled for October 30, 2014, at 9:00 a.m. is continued to
18   January 29, 2015, at 9:00 a.m. in the same courtroom. Probation has also been informed
19   of the continuance request. Defense counsel needs additional time to prepare for
20   sentencing and requested a continuance. Justin Lee, Assistant United States Attorney,
21   and Thomas A. Johnson, Defendant’s attorney, agree to this continuance.
22
23   IT IS SO STIPULATED.
24
     DATED: October 9, 2014                          By:   /s/ Thomas A. Johnson
25                                                         THOMAS A. JOHNSON
                                                           Attorney for Matthew Gillum
26
27   DATED: October 9, 2014                                BENJAMIN B. WAGNER
                                                           United States Attorney
28

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                                              By:    /s/ Thomas A. Johnson for
 1                                                  JUSTIN LEE
                                                    Assistant United States Attorney
 2
 3
                                       ORDER
 4
           IT IS SO ORDERED.
 5
 6   Dated: October 14, 2014
 7
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 1                           IN THE UNITED STATES DISTRICT COURT
 2                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 3
     UNITED STATES OF AMERICA,                      )   Case No. 2:13-cr-00393-MCE
 4                                                  )
                    Plaintiff,                      )
 5                                                  )   MODIFICATION OF SCHEDULE FOR
            vs.                                     )   PRE-SENTENCE REPORT AND FOR
 6                                                  )   FILING OF OBJECTIONS TO THE PRE-
     MATTHEW GILLUM,                                )   SENTENCE REPORT
 7
                                                    )
 8                  Defendant                       )
                                                    )
 9
     Judgment and Sentencing date:                             January 29, 2015
10
11   Reply or Statement                                        January 15, 2015

12   Motion for Correction of the Pre-Sentence
     Report shall be filed with the court and                  January 8, 2014
13   served on the Probation Officer and opposing
14   counsel no later than:

15   The Pre-Sentence Report shall be filed with
     the court and disclosed to counsel no later               December 18, 2014     __
16   than:
17
     Counsel’s written objections to the Pre-
18   Sentence Report shall be delivered to the                 December 11, 2014
     Probation Officer and opposing counsel
19
     no later than:
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